                                        Case 1:21-cr-00246-ABJ Document 164 Filed 02/21/23 Page 1 of 2
      EXHIBITS
                                                         UNITED STATES OF AMERICA
      Government                                                   VS.                                           Civil/Criminal No. 2 1 - c r - 2 4 6
      Plaintiff
      Defendant       X                                      Daniel Rodriguez, et al.
      Joint
      Court


Exhibit Number            DESCRIPTION OF EXHIBITS                  GOVERNMENT             MARKED FOR I.D.   RECEIVED IN   W   EXHIBITS SENT INTO JURY
                                                                   OBJECTIONS                                EVIDENCE     I   (date & time)
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Category:        Video
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001              Badalian restraining window breaker            Hearsay, if it includes
                                                                audio.

002              Exiting from inside the capitol after police say No objections.
                 it’s safe (20 seconds)

003              Info Wars Interview with Badalian              Hearsay.


004              Badalian restraining window breaker            Hearsay, if it includes
                                                                audio.

005              Trump supporters stop window smasher           Hearsay, if it includes
                                                                audio.

006              RSBN Video at :50:20 Gina speaking to          No objections.
                 Badalian

007              LOBS D.C. BURNING 18:08 Badalian righting a No objections.
                 chair

Category:        Screen shots of text messages
                                        Case 1:21-cr-00246-ABJ Document 164 Filed 02/21/23 Page 2 of 2
Exhibit Number            DESCRIPTION OF EXHIBITS                 GOVERNMENT     MARKED FOR I.D.   RECEIVED IN   W   EXHIBITS SENT INTO JURY
                                                                  OBJECTIONS                        EVIDENCE     I   (date & time)
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008              Being saying “being on grounds isn’t illegal.” Hearsay


009              Badalian saying he has video of restraining    Hearsay
                 antifa breaking shit

010              Badalian saying “no attacking cops”            Hearsay


011              Badalian saying “If they attack bldgs., they   Hearsay
                 are getting rect.”
012              Badalian to Gina “We should offer to hlp       Hearsay
                 authorities through a lawyer.”
013              Screenshot of smoke while Badalian is in       No objections.
                 front of window
014              Picture of Badalian after being attacked at    No objections.
                 Beverly Hills Protest
